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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Tyrone Cook and Sheila Harris-Cook           :
226 North Hobart Street                      :    CIVIL ACTION NO.: 22-cv-1513
Philadelphia, PA 19139                       :
                                             :    JURY TRIAL DEMANDED
                                Plaintiffs   :
                                             :
       v.                                    :
                                             :
Omega II Inc. d/b/a Metaltech                :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
Metaltech                                    :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
Metaltech-Omega Inc. d/b/a                   :
Metaltech-Omega d/b/a Metaltech              :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
Omega II Inc., d/b/a Omega II Holding        :
d/b/a Metaltech                              :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
Metal Tech (North America) Inc. d/b/a        :
Metal Tech                                   :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
Omega II                                     :
1735, St.-Elzear Blvd. West                  :
Laval (QC), Canada H7L 3N6                   :
                                             :
                                Defendants   :
                                             :

                                 COMPLAINT - CIVIL ACTION

       Plaintiffs, Tyrone Cook and Sheila Harris-Cook, H/W, by and through their attorneys of

Mattiacci Law, LLC, claim of defendants, Omega II Inc. d/b/a Metaltech, Metaltech, Metaltech-
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Omega Inc. d/b/a Metaltech-Omega d/b/a Metaltech, Omega II Inc., d/b/a Omega II Holding d/b/a

Metaltech, Metal Tech (North America) Inc. d/b/a Metal Tech, and Omega II, jointly and severally,

sums of monetary damages in excess of $50,000.00 upon causes of action whereof the following

are true statements:

      I.         INTRODUCTION

           The defendants, Omega II, Inc. d/b/a Metaltech, Metaltech, Metaltech-Omega Inc. d/b/a

Metaltech-Omega d/b/a Metaltech, Omega II, Inc., d/b/a Omega II Holding d/b/a Metaltech, Metal

Tech (North America) Inc. d/b/a Metal Tech, and/or Omega II, designed, manufactured, distributed

and/or sold a defective scaffold that injured the Plaintiff. On June 9, 2020, Plaintiff, Tyrone Cook

was working on a Metaltech scaffold while working as an employee for La Colombe at its coffee

processing facility located on Salmon Street in Philadelphia, PA. Plaintiff sustained severe,

permanent, debilitating, career-ending, and life-altering personal injuries more specifically set

forth hereinafter when he fell approximately nine (9) to fifteen (15) feet from the Metaltech

scaffolding. Plaintiff fell and was injured because of the conduct of the defendants, jointly and

severally, in that their scaffold was not equipped with all necessary safety devices, was dangerous

and defective, and malfunctioned due to a defective condition including an insufficient, defective

and/or broken weld located at the kickplate on the scaffold, as set forth in detail hereinafter.

II.        PARTIES

           1.       Plaintiff, Tyrone Cook, is a citizen of the Commonwealth of Pennsylvania residing

at 226 North Hobart Street, Philadelphia, PA 19139.

           2.       Plaintiff, Sheila Harris-Cook, is a citizen of the Commonwealth of Pennsylvania

residing at 226 North Hobart Street, Philadelphia, PA 19139 and at all times relevant hereto was

and remains the lawful spouse of husband-plaintiff, Tyrone Cook.
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       3.       Defendant, Omega II Inc. d/b/a Metaltech (hereinafter “Omega II Inc.”) is upon

information and belief a corporation organized and existing under and by virtue of the laws of

Canada and is a citizen of Canada with its principal place of business located at 1735, St-Elzear

Blvd. West, Laval (QC), Canada H7L 3N6, and at all times relevant hereto was and is engaged in

business within the County of Philadelphia, Commonwealth of Pennsylvania, on a regular,

systematic, continuous and substantial basis.

       4.       Defendant, Metaltech (hereinafter “Metaltech”), is upon information and belief a

corporation organized and existing under and by virtue of the laws of Canada and is a citizen of

Canada with its principal place of business located at 1735, St-Elzear Blvd. West, Laval (QC),

Canada H7L 3N6, and at all times relevant hereto was and is engaged in business within the County

of Philadelphia, Commonwealth of Pennsylvania, on a regular, systematic, continuous and

substantial basis.

       5.       Defendant, Metaltech-Omega Inc. d/b/a Metaltech-Omega d/b/a Metaltech,

(hereinafter “Metaltech-Omega Inc.”) is upon information and belief a corporation organized and

existing under and by virtue of the laws of Canada and is a citizen of Canada with its principal

place of business located at 1735, St-Elzear Blvd. West, Laval (QC), Canada H7L 3N6, and at all

times relevant hereto was and is engaged in business within the County of Philadelphia,

Commonwealth of Pennsylvania, on a regular, systematic, continuous and substantial basis.

       6.       Defendant, Omega II Inc. d/b/a Omega II Holding d/b/a Metaltech (hereinafter

“Omega II Holding”), is upon information and belief a corporation organized and existing under

and by virtue of the laws of Canada and is a citizen of Canada with its principal place of business

located at 1735, St-Elzear Blvd. West, Laval (QC), Canada H7L 3N6, and at all times relevant

hereto was and is engaged in business within the County of Philadelphia, Commonwealth of

Pennsylvania, on a regular, systematic, continuous and substantial basis.
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       7.       Defendant, Metal Tech (North America) Inc. (hereinafter “Metal Tech NA”) is

upon information and belief a corporation organized and existing under and by virtue of the laws

of Canada and is a citizen of Canada with its principal place of business located at 1735, St-Elzear

Blvd. West, Laval (QC), Canada H7L 3N6, and at all times relevant hereto was and is engaged in

business within the County of Philadelphia, Commonwealth of Pennsylvania, on a regular,

systematic, continuous and substantial basis.

       8.       Defendant, Omega II (hereinafter “Omega II”) is upon information and belief a

corporation organized and existing under and by virtue of the laws of Canada and is a citizen of

Canada with its principal place of business located at 1735, St-Elzear Blvd. West, Laval (QC),

Canada H7L 3N6, and at all times relevant hereto was and is engaged in business within the County

of Philadelphia, Commonwealth of Pennsylvania, on a regular, systematic, continuous and

substantial basis.

III.   JURISDICTION AND VENUE

       9.       Jurisdiction is based upon diversity of citizenship, 28 U.S.C. Section 1332, and the

amount in controversy exceeds $75,000.00.

       10.      Jurisdiction is proper in the District Court for the Eastern District of Pennsylvania

as the incident in which Plaintiff was injured occurred in Philadelphia and the defendants each

engaged in business within the County of Philadelphia, Commonwealth of Pennsylvania, on a

regular, systematic, continuous, and substantial basis.

       11.      Defendants’ website states that it has 15,234 points of sale in North America.

       12.      Local Philadelphia retailers, including Diamond Tool, located on Grays Ferry

Avenue in Philadelphia, sell Metaltech scaffolds and other products, including drywall lifts,

outriggers, plywood platforms, casters, carts, and other components and products.
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IV.    FACTUAL BACKGROUND

       13.     On or about June 9, 2020, Plaintiff, Tyrone Cook was working on a scaffold as an

employee at the La Colombe coffee processing facility located on Salmon Street in Philadelphia,

PA.

       14.     Upon information and belief, the subject scaffold was designed, manufactured,

distributed and/or sold by defendants, Omega II Inc., Metaltech, Metaltech-Omega Inc., Omega II

Holding, Metal Tech NA, and/or Omega II.

       15.     At all times relevant hereto, defendants, individually, jointly and/or severally, acted

by and through their respective duly authorized agents, servants, workmen, subsidiaries,

contractors and/or employees, acting within the scope and course of their employment or agency.

       16.     At all relevant times herein, defendants, by and through their respective agents,

servants, workers, contractors, subcontractors, designers, assemblers, welders, manufacturers,

sellers, suppliers, renters, leasers, and/or distributors designed, assembled, manufactured, sold,

supplied, rented, leased, repaired and/or distributed scaffolds within the County of Philadelphia,

Commonwealth of Pennsylvania on a regular systematic continuous and substantial basis,

including the subject scaffold.

       17.     The subject scaffold was expected to and did reach intended users, such as Plaintiff,

and workers without substantial change in the condition in which it were designed, manufactured,

assembled, distributed, sold, rented, leased and/or supplied.

       18.     On or about June 9, 2020, Plaintiff, Tyrone Cook, while properly and lawfully

working within the course and scope of his employment for La Colombe, sustained severe,

permanent, debilitating, career-ending and life-altering personal injuries more specifically set forth

hereinafter when he fell approximately nine (9) to fifteen (15) feet from defendants’ dangerous
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and defective scaffolding that had no safety devices and/or failed/faulty safety devices, including

a broken weld located at the kickplate on the scaffold.

        19.     Plaintiff’s fall and resulting injuries and damages were caused by the liability-

inducing conduct of the defendants, jointly and severally, including defendants’ negligence and

carelessness and due to the defective nature of the product.

        20.     On the date and at the place aforesaid, agents, servants, workmen and/or employees

of defendant designed, erected, assembled, supplied, sold, rented, leased, and/or distributed the

subject scaffolding used by Plaintiff and failed to provide Plaintiff with all necessary parts,

components, warnings, safety devices and/or fall protection equipment required to safely use the

scaffolding on the job site.

        21.     On the date and at the place aforesaid, agents, servants, workmen and/or employees

of defendant designed, erected, assembled, supplied, sold, rented, leased, and/or distributed the

subject scaffolding used by Plaintiff with a defective and/or dangerous condition that caused it to

malfunction and/or fail during its intended and expected use.

                                    COUNT I – NEGLIGENCE

                            TYRONE COOK v. ALL DEFENDANTS

        22.     Plaintiffs incorporate herein by reference the previous paragraphs of this Complaint

the same as if fully set forth hereinafter.

        23.     Falls are one of the leading causes of fatalities and injuries associated with the

construction industry.

        24.     Defendants knew or should have known that falls are one of the leading causes of

fatalities and injuries at job sites, including in the United States.

        25.     Defendant designed, maintained, inspected, supervised, erected and/or established

the performance of said work, including the design, erection and provision of the subject
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scaffolding in excess of nine (9) to fifteen (15) feet in height, and failed to provide and to enforce

the use of all necessary safety devices and/or provided failed/faulty safety devices, including a

defective and broken weld located at the kickplate on the scaffold, to workers that were required

to use the subject scaffolding.

       26.     Defendants, jointly and severally, by and through their respective agents, servants,

workmen and/or employees, were negligent and careless in:

       (a)     failing to provide Plaintiff a safe place in which to work;
       (b)     failing to adequately inspect the subject scaffold for hazardous conditions,
               including the faulty kickplate weld that caused Plaintiff’s incident;
       (c)     failing to coordinate with other entities and subcontractors, including, but
               not limited to, Plaintiff's employer;
       (d)     failing to adequately plan, plot and supervise the scaffold work;
       (e)     violating applicable OSHA standards, including but not limited to those
               relating to scaffolds and/or fall protection;
       (f)     breaching their duties under the Restatement of the Law of Torts
               (Second);
       (g)     failing to properly train and supervise their respective employees;
       (h)     failing to hire competent employees, safety inspectors, contractors and
               subcontractors;
       (i)     failing to warn Plaintiff, a business invitee, of the peculiar, dangerous and
               unsafe conditions then and there existing upon the subject scaffold;
       (j)     failing to warn Plaintiff's employer of the peculiar, dangerous and unsafe
               conditions then and there existing upon subject scaffold;
       (k)     failing to adopt, enact, employ and enforce proper and adequate safety
               programs, precautions, procedures, measures and plans with regard to the
               subject scaffold, including for its design, manufacture, and use;
       (l)     violating and failing to comply with its own contractual promises, duties
               and obligations;
       (m)     failing to implement, require and enforce adequate scaffolds/scaffolding
               and ladders;
       (n)     using improper scaffolding and ladders;
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       (o)     failing to use, require and enforce the use of safety devices and fall
               protection devices including but not limited to guardrails, anchor points,
               and lifelines to prevent workers from falling off the scaffolding;
       (p)     failing to provide written and complete instructions on the use, assembly,
               repair and/or maintenance of the subject scaffolding;
       (q)     failing to provide all of the components, parts and safety devices to ensure
               that the subject scaffolding was safe for its intended use;
       (r)     failing to provide training and/or instruction to intended users of the
               subject scaffolding as to its safe operation and use, including Plaintiff;
       (s)     exposing Plaintiff, a business invitee, to peculiar and unreasonable danger
               by providing workers such as Plaintiff with scaffolding that did not have
               all necessary fall protection and safety devices, including a kickplate that
               broke at its weld causing Plaintiff’s incident;
       (t)     failing to properly and adequately inspect the work area, scaffolding and
               ladders to ensure that all proper and necessary safety devices and fall
               protection equipment were available to invitees, such as Plaintiff;
       (u)     failing to provide adequate safety devices and fall protection equipment to
               protect Plaintiff, a business invitee, from falling approximately nine (9)
               to fifteen (15) feet to the ground;
       (v)     failing to recommend, provide and enforce frequent inspections of the
               work area, including the subject scaffolding;
       (w)     exposing Plaintiff, a business invitee, to unreasonable danger by providing
               Plaintiff with scaffolding that did not have all necessary safety devices
               and/or fall protection in an attempt to reduce defendants’ respective costs;
       (x)     exposing Plaintiff, a business invitee, to unreasonable and outrageous
               danger by failing to use scaffolding that included all necessary safety
               equipment, including but not limited to kickplates, guardrails, fall
               protection and all necessary safety devices in an attempt to reduce
               defendants’ costs; and
       (y)     exposing Plaintiff, a business invitee, to unreasonable and outrageous
               danger, by refusing to provide all proper and necessary safety devices and
               fall protection in order to prevent falls at the jobsite, despite defendants’
               knowledge that falls are the leading causes of fatalities and injuries on
               worksites and in an attempt to reduce costs and increase defendants’
               profits.
       27.     By reason of defendant’s negligence and carelessness, jointly and severally, as

aforesaid, Plaintiff, Tyrone Cook, was caused to sustain severe, permanent, debilitating personal,
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career-ending and life-altering personal injuries when he fell from the defendant’s scaffolding

from a height of approximately nine (9) to fifteen (15) feet. On June 9, 2020, Mr. Cook sustained

serious injuries to his left shoulder, including four (4) torn ligaments requiring left shoulder surgery

from Dr. Todd Chertow, M.D., three (3) bulging discs in his neck and back, muscle spasms and

cortisone and epidural injection therapy. Plaintiff has in the past and may in the future continue

to require additional surgeries. Throughout Plaintiff’s treatment he was prescribed a battery of

prescriptions and medications. Plaintiff’s current workers’ compensation lien is more than

$240,483.01. He has in the past and will in the future incur expenses for medical care and

treatment. Plaintiff has had numerous X-rays, CT scans and MRIs and other diagnostic testing.

Plaintiff has undergone numerous tests and physical therapy. He sustained severe and chronic

psychological and emotional injuries. He sustained other orthopedic, neurological, internal and

psychological injuries, the full extent of which have yet to be determined. He sustained severe

shock to his nerves and nervous system. He has in the past required and may in the future continue

to require surgeries, medicines, medical aid, medical care and treatment and rehabilitation. He has

in the past suffered and may in the future continue to suffer agonizing aches, pains, suffering and

mental anguish. He has in the past and may in the future continue to be disabled from performing

his usual duties, occupations, and avocations, all to his great loss and detriment. He has sustained

a loss of earnings and loss of future earning capacity. He has suffered a loss of household services.

He has endured pain and suffering. He has in the past and may in the future continue to endure

loss of hedonic pleasures. He has in the past and may in the future continue to be totally disabled

from performing his usual occupation as a union laborer.

                                               RELIEF

       WHEREFORE, Plaintiffs, Tyrone Cook and Sheila Harris-Cook, h/w, claim of defendants,

jointly and severally, a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in
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compensatory and punitive damages, delay damages pursuant to Pa. R.C.P. 238, interest, allowable

costs of suit and bring this action to recover the same.

                         COUNT II – STRICT PRODUCT LIABILITY
                            TYRONE COOK v. ALL DEFENDANTS
        28.     Plaintiffs incorporate herein by reference the previous paragraphs of this Complaint

the same as if fully set forth hereinafter.

        29.     Plaintiffs aver that defendants, by and through their respective agents, servants,

workers, contractors, subcontractors, designers, mechanics, repairers, assemblers, welders,

manufacturers, sellers, suppliers, renters, leasers, and/or distributors, jointly and severally, are

strictly liable under §402A of the Restatement of Law of Torts (2d) because:

        (a)     Defendants are engaged in the business of designing, contracting, manufacturing,
                supplying, distributing, assembling, installing, selling, renting, leasing and
                repairing scaffolding;
        (b)     The subject scaffolding and related equipment that were being used in the course
                and scope of employment were marketed and placed in the general stream of
                commerce by defendants;
        (c)     Said scaffolding and related equipment were expected to and did reach intended
                users, such as Plaintiff, and workers without substantial change in the condition in
                which they were designed, manufactured, assembled, distributed, sold, rented,
                leased and/or supplied; and
        (d)     Said product was designed, manufactured, assembled, installed, distributed, sold,
                rented, leased and/or supplied by defendants in a dangerous and defective
                condition for the reasons set forth below.
        30.     Plaintiffs aver that defendants, by and through their respective agents, servants,

workers, contractors, subcontractors, designers, assemblers, welders, manufacturers, sellers,

suppliers, renters, repairers, leasers, distributors and/or employees, are strictly liable under § 402A

of the Restatement of Law of Torts (2d) by:

        (a)     Engaging in the business of owning, engineering, designing assembling,
                manufacturing, installing, selling, inspecting, welding, maintaining, supplying,
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      renting, leasing, repairing, delivering and/or distributing a product, the subject
      scaffold, in a defective condition;
(b)   The product, the subject scaffold, involved in Plaintiff’s incident was owned,
      engineered, designed, assembled, manufactured, installed, sold, inspected, welded,
      maintained, supplied, rented, leased, delivered, repaired, distributed and/or placed
      in the general stream of commerce by defendant(s);
(c)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product that was unreasonably dangerous to intended users,
      such as Plaintiff;
(d)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product which was not safe for its intended and expected use;
(e)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product to plaintiff’s employer and plaintiff without adequate
      warnings on and with the product;
(f)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product which lacked all necessary safety features to protect
      intended users, such as plaintiff;
(g)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product without instructions to be followed with regard to the
      use and repair of this product;
(h)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing equipment including scaffolding and its component parts, safety
      devices and equipment which could have been designed more safely so that the
      product would not have been able to fail or cause plaintiff to fall and suffer severe,
      permanent, debilitating, career-ending and life-altering personal injuries;
(i)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product with parts and components that could fail
      unexpectedly and without warning and injure unsuspecting workers, all in an
      attempt to reduce costs and to increase defendants’ profits;
(j)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
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      and/or distributing a product which was not safe for its work-related purposes
      without proper and adequate warnings to Plaintiff;
(k)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product without proper and necessary warnings and/or
      instructions;
(l)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing the product without providing an instruction/ manual with
      regard to the use of the product;
(m)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing the product without providing proper and adequate training to
      the individuals who needed to use the product or who needed to train other intended
      users of the product;
(n)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product without all necessary safety devices to prevent
      workers and intended users, such as Plaintiff, from falling off of the scaffolding,
      including but not limited to, all of the necessary component parts to use the
      scaffolding, all necessary fall protection devices and personal arrest systems or
      harnesses, all necessary tie-off points, guardrails, kickplates, ladders, clear written
      instructions on the use and operation of the scaffolding, and all necessary safety
      and warning labels;
(o)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product without all necessary safety devices to prevent
      workers and intended users, such as Plaintiff, from falling off of the scaffolding,
      including but not limited to all proper and necessary approved and engineered
      equipment;
(p)   Owning, engineering, designing, assembling, manufacturing, installing, selling,
      inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
      and/or distributing a product without all necessary safety devices to prevent
      workers and intended users, such as Plaintiff, from falling off of the scaffolding,
      including but not limited to, all of the necessary component parts to use the
      scaffolding, all necessary fall protection devices and personal arrest systems or
      harnesses, all necessary tie-off points, guardrails, ladders, clear written instructions
      on the use and operation of the scaffolding, and all necessary safety and warning
      labels in an attempt to reduce construction costs and increase defendants’ profits;
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        (q)     Owning, engineering, designing, assembling, manufacturing, installing, selling,
                inspecting, welding, maintaining, repairing, supplying, repairing, renting, leasing,
                delivering and/or distributing a product without all necessary safety devices to
                reduce defendants’ costs and increase defendants’ profits without regard for the
                safety of the users of the product; and
        (r)     Owning, engineering, designing, assembling, manufacturing, installing, selling,
                inspecting, welding, maintaining, supplying, repairing, renting, leasing, delivering
                and/or distributing a product that could be used without the presence of all
                component parts and safety devices necessary to ensure the product was safe.
        31.     By reason of defendant’s failure to conform to its obligations and duties under

§402A of the Restatement of the Law of Torts (2d), as aforesaid, Plaintiff, Tyrone Cook, was

caused to sustain serious and permanently disabling personal injuries as previously set forth above.

                                               RELIEF

        WHEREFORE, Plaintiffs, Tyrone Cook and Sheila Harris-Cook, claim of defendants,

jointly and severally, a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in

compensatory and punitive damages, delay damages pursuant to Pa. R.C.P. 238, interest, allowable

costs of suit and bring this action to recover the same.

                            COUNT III – BREACH OF WARRANTY

              TYRONE COOK v. OMEGA II HOLDING d/ba/ METALTECH

        32.     Plaintiff hereby incorporates by reference all previous paragraphs of this Complaint

the same as if fully set forth hereinafter.

        33.     At all times relevant hereto, defendants, jointly and severally, were engaged in the

design, manufacture, distribution, sale, servicing and/or repair of scaffolds, in particular the subject

scaffold and its component parts.

        34.     In designing, manufacturing, distributing, selling, servicing, and repairing the subject

scaffold, the defendants expressly warranted that the subject scaffold was safe for its intended and
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foreseeable uses and made other express warranties concerning the quality and characteristics of the

scaffold.

        35.     In designing, manufacturing, distributing, selling, servicing, and repairing the subject

scaffold, the defendants impliedly warranted that it was of merchantable quality, was fit and safe for

the ordinary and particular purpose for which it was sold, and was free of all defects.

        36.     The aforesaid express and implied warranties were breached by the defendants in that

the subject scaffold constituted a serious danger to the users and others, was not safe for its intended

or foreseeable uses, was not of merchantable quality, was not fit and safe for the ordinary purposes

for which it was sold, and was not free from all defects.

        37.     As a direct and proximate result of the defendants’ respective breaches of these

express and/or implied warranties, Plaintiff suffered the injuries and damages described herein.

                                               RELIEF

        WHEREFORE, Plaintiffs, Tyrone Cook and Sheila Harris-Cook, claim of defendants,

jointly and severally, a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in

compensatory and punitive damages, delay damages pursuant to Pa. R.C.P. 238, interest, allowable

costs of suit and bring this action to recover the same.

                             COUNT IV – LOSS OF CONSORTIUM

                       SHEILA HARRIS-COOK v. ALL DEFENDANTS


        38.     Plaintiffs incorporate herein by reference the previous paragraphs of this Complaint

the same as if fully set forth hereinafter.

        39.     Plaintiff, Sheila Harris-Cook, is the wife of plaintiff, Tyrone Cook, and as such is

entitled to his society, companionship, and services.
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       40.     By reason of the defendants’ negligence, carelessness, strict liability, and/or

breaches of warranty, jointly and severally, as aforesaid, wife-plaintiff, Sheila Cook, has suffered

the loss of consortium and has been deprived of her husband’s love, intimacy, companionship,

comfort, affection, society, and physical assistance.

                                             RELIEF

       WHEREFORE, Plaintiff, Sheila Harris-Cook, claims of defendants, jointly and severally,

a sum in excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory and punitive

damages, delay damages pursuant to Pa. R.C.P. 238, interest, allowable costs of suit and brings

this action to recover.



                                      MATTIACCI LAW, LLC


                                                 /s/ William J. Coppol
                                      BY:     ____________________________________
                                              William J. Coppol, Esquire
                                              PA Attorney ID # 84666
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